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11/7/22, 2:54 PM                             of -1Clarification Motion Conferral
                                           Gmail



                                                                                Alyssa Montalbano <legalzenacm@gmail.com>



  Clarification Motion Conferral
  1 message

  Alyssa Montalbano <legalzenacm@gmail.com>                                                  Fri, Nov 4, 2022 at 2:21 PM
  To: yanaroslaw <valerie@yanaroslaw.com>, Matthew Gardner <mgardner@burnhamlaw.com>, Dmitry Vilner
  <Dmitry.Vilner@coag.gov>, ischer@dglaw.com, Alicia Reinken <alicia@robinsonandhenry.com>, "Dingerson, Daniel A."
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    Greetings All,

    It is a simple motion requiring the Federal Court Officers (Magistrate Mix and Judge Domenico), pursuant to their Oath of
    Office, to acknowledge Constitutional Law is the supreme law of the land (USA), in Colorado, in Federal Court, and in
    particular inside of case 1:20-CV-00742-DDD-KLM.

    If my motion is denied, then I know I am in another Colorado based kangaroo court and that I legally and lawfully don't
    have to follow any orders from this case either, because the Laws will just again be broken by men and women who
    perjure their Oath of Office at will. People get hurt when Officers break the law and tell lies. I am not ok with that, nor am I
    willing to participate in Officers' criminal conduct or acts of treason against the American people under false pretenses of
    'law'.

    Lastly, I realized I mistakenly deleted the following opening paragraph and have added it back into the motion:


         "COMES NOW, Defendant and Plaintiff, Alyssa Chrystie Montalbano and moves this Court

    without accepting the jurisdiction of the Court devoid of Constitutional Law pursuant to oaths

    sworn by the attending public officers and presiding Judges to Grant this motion and

    acknowledge and adhere to the following Constitutional Laws:"

    If anyone would like to change positions, please let me know.

    Respectfully, Alyssa Montalbano
    --
    ________________________________

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    distribute or copy this e-mail. Please notify the sender immediately by e-mail if you have received this e-mail by mistake
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